Case 3:17-cv-00072-NKM-JCH Document 822 Filed 08/07/20 Page 1 of 3 Pageid#: 12352




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division



   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,

                                  Plaintiffs,              Civil Action No. 3:17-cv-00072-NKM

    v.

    JASON KESSLER, et al.,

                                  Defendants.



             PLAINTIFFS’ RESPONSE TO DEFENDANTS’ HILL, TUBBS AND
            LEAGUE OF THE SOUTH’S MOTION FOR PERMISSION TO FILE
                     MEMORANDUM THAT EXCEEDS 25 PAGES

         Plaintiffs Elizabeth Sines, Seth Wispelwey, Marisa Blair, April Muniz, Marcus Martin,

  Natalie Romero, Chelsea Alvarado, John Doe, and Thomas Baker, by and through their counsel,

  respond to Defendants Hill, Tubbs and League of the South’s above-referenced motion (ECF No.

  821) by stating that they consent to such motion.

  Dated: August 7, 2020                               Respectfully submitted,

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Case 3:17-cv-00072-NKM-JCH Document 822 Filed 08/07/20 Page 2 of 3 Pageid#: 12353




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                                            2
Case 3:17-cv-00072-NKM-JCH Document 822 Filed 08/07/20 Page 3 of 3 Pageid#: 12354




                                     CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2020, I filed the foregoing with the Clerk of Court through the
  CM/ECF system, which will send a notice of electronic filing to:

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         I further hereby certify that on August 6, 2020, I also served the following non-ECF participants, via
  electronic mail, as follows:

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